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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


DRAFTKINGS, INC.,
                          Plaintiff,             Civil Action No. 1:24-cv-10299-JEK
       v.

MICHAEL Z. HERMALYN,

                           Defendant.



                    DEFENDANT’S UNOPPOSED MOTION TO SEAL

       Defendant Michael Z. Hermalyn, without objection from Plaintiff DraftKings, Inc.

(“DraftKings”), respectfully requests leave to file under seal portions of the forthcoming Motion

to Compel George Hernandez’s Testimony or in the Alternative to Strike. Given that the Motion

contains confidential medical information regarding Mr. Hernandez, Mr. Hermalyn seeks to file

the Motion under seal.



 Dated: April 15, 2024                          Respectfully submitted,

                                                Attorneys for Defendant Michael Z. Hermalyn

                                                /s/ Russell Beck
                                                Russell Beck (BBO# 561031)
                                                Stephen D. Riden (BBO# 644451)
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                         LOCAL RULE 7.1(A)(2) CERTIFICATION

       I certify that Defendant has complied with the provisions of Local Rule 7.1(a)(2) by
conferring with Plaintiff’s counsel on April 14, 2025, concerning the confidentiality of information
concerning Mr. Hernandez, and conferring via email with counsel for Plaintiff regarding this
motion on April 15, 2024. It is my understanding that Plaintiff will not oppose this motion.

                                                     /s/ __Stephen Riden _________________
                                                           Stephen Riden


                                CERTIFICATE OF SERVICE


       I hereby certify that a true copy of the above document was filed on April 15, 2024, through
the ECF System and will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF).

Dated: April 15, 2024                                /s/ Russell Beck
                                                     Russell Beck




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